   Case 2:24-cv-01952-EEF-MBN          Document 1-2       Filed 08/06/24    Page 1 of 16

                                DEPARTMENT OF THE ARMY
                      U.S. ARMY CORPS OF ENGINEERS, NEW ORLEANS DISTRICT
                                       7400 LEAKE AVENUE
                               NEW ORLEANS, LOUISIANA 70118-3651

                                     February 14, 2024
Regulatory Division
Eastern Evaluation Branch


SUBJECT: MVN-2021-00270-EG


Board of Commissioners of the Port of New Orleans
Attention: Chris Gilmore
1350 Port of New Orleans Place
New Orleans, Louisiana 70130


Dear Mr. Gilmore,

    Additional drawings, attached in eleven (11) sheets, furnished with your application
dated December 13, 2023, to clear for access to conduct two surcharge test plots in
addition to previously authorized geotechnical field exploration activities on the site,
located at approximately Latitude: 29.885908, Longitude: -89.897235, on the Mississippi
River, left-descending bank, 83 miles AHP, on East St. Bernard Highway and East
Judge Perez Drive, in Violet, Louisiana, in St. Bernard Parish, are approved and will be
included in your plans for the work authorized by the Secretary of the Army in permit
MVN-2021-00270-EG, dated March 13, 2023.

   All previously stated conditions to which the work is made subject remain in full force
and effect. The time limit for completion of all permitted geotechnical field exploration
activities is specifically extended to February 28, 2029. In addition, the following
conditions are added to the permit:

   1. The Corps of Engineers, Regulatory Division has been provided with written
notification from Resource Environmental Solutions, LLC (RES) on behalf of Killian
Bayou Mitigation Bank that the permittee has contracted for 1.9-acres of bottomland
hardwoods credits. Killian Bayou Mitigation Bank has assumed responsibility for
completing the mitigation in accordance with the Killian Bayou Mitigation Banking
Instrument and has recorded the allocation of the mitigation required by this permit in
the Regulatory In-Lieu Fee and Bank Information Tracking System (RIBITS).

   2. Permittees that discover any previously unknown historic, cultural, or
archeological remains and artifacts while accomplishing the permitted activity must
immediately notify the U.S. Army Corps of Engineers New Orleans District Regulatory
Division (CEMVN-RG), halt all construction activity at the location of discovery, and
avoid construction activities within a fifty (50) foot buffer zone of the location of
discovery until the required coordination has been completed. CEMVN-RG will initiate
the Federal, Tribal, and state coordination required to determine if the items or remains
warrant a recovery effort or if the site is eligible for listing in the National Register of
Historic Places.
                                                                           Exhibit B
   Case 2:24-cv-01952-EEF-MBN          Document 1-2         Filed 08/06/24   Page 2 of 16




   3. If abandoned cemeteries, unmarked graves, or human remains are discovered
during the permitted activity, the permittee will stop work immediately and comply with
the Louisiana Unmarked Human Burial Sites Preservation Act (La. R.S. 8:671 et seq.).
The permittee will notify local law enforcement, CEMVN-RG, and the Louisiana Division
of Archaeology (LDOA), within the Louisiana Department of Culture, Recreation and
Tourism, Office of Cultural Development, by telephone at 225-342-8170 to assess the
nature and age of the human skeletal remains within twenty-four (24) hours of the
discovery of unmarked human remains and will accompany local law enforcement
personnel during all field investigations. If the appropriate local law enforcement official
determines that the remains are not a crime scene, and the remains are more than 50
years old, LDOA has jurisdiction over the remains. In no instance will human remains
be removed from the discovery site until jurisdiction is established. In cases where the
LDOA assumes jurisdiction and the remains are determined to be American Indian,
LDOA will consult with Tribes, CEMVN-RG, and the permittee to determine the
appropriate course of action.

    A copy of the first page of this permit approval letter must be conspicuously
displayed at the project site. Also, you must keep a copy of this signed letter, with
attached drawings, at the project site until the work is completed.

   BY AUTHORITY OF THE SECRETARY OF THE ARMY:

                                            Martin Digitally  signed by
                                                     Martin S. Mayer

                                            S. Mayer 08:30:40 -06'00'
                                                     Date: 2024.02.15



                                             Martin S. Mayer
                                             Chief, Regulatory Division
                                                    for
                                             Cullen A. Jones
                                             Colonel, US Army
                                             District Commander
                                                                                                                                   Case 2:24-cv-01952-EEF-MBN                             Document 1-2             Filed 08/06/24               Page 3 of 16

                                                                                                                                             USGS QUAD MAP                                                                            USGS QUAD MAP
                                                                                                                                             CHALMETTE, LA                                                                          MARTELLO CASTLE, LA
                                                                                                                                                2908901                                                                                  2908902
                                                                                                                                                  2020                                                                                     2020




                                                                                                                                                                                                                                                                                               PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                                                                                                                                                          PROPOSED LOUISIANA INTERNATIONAL
                                                                                                                                                                                                                                                          TERMINAL AT VIOLET
                                                                                                                                                                                                                                                          SECTIONS 8, 9, & 10
                                                                                                                                                                                                                                                          T 13 S R 13 E
                                                                                                                                                                                                                                                          X: 3737667.1945, Y: 508809.9688




                                                                                                                                                                                ST
                                                                                                                                                                                                                                                          29°53'28.4164"N




                                                                                                                                                                              .B
                                                                                                                                                                               OR
                                                                                                                                                                                                                                                          89°53'29.8323"E




                                                                                                                                                                                ER NS P
                                                                                                                                                                                                                                                          LOUISIANA SOUTH NAD 83




                                                                                                                                                                                 LE

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C:\pwworking\aecom_ds21_na_2020\d0229794\FIG 1 - SHT 1 OF 1.dwg, Jul 24, 2023 - 9:08:55AM, MartinezIIC




                                                                                                                                                                              ISH SH
                                                                                                                                                                                P
                                                                                                                                                                                                               ACCESS FROM PORT SHIP
                                                                                                                                                                                                               SERVICES - POYDRAS DOCK
                                                                                                                                                                                                               LAT 29° 52' 42.4"




                                                                                                                                                                                          PLA
                                                                                                                                                                                                ST.
                                                                                                                                                                                                               LONG 89° 53' 57.6"




                                                                                                                                                                                           QUE
                                                                                                                                                                                                   BER
                                                                                                                                                                                             NAR
                                                                                                                                                                                             MIN
                                                                                                                                                                                                 ES P
                                                                                                                                                                                                 DP
                                                                                                                                                                                                    ARI
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                                                                                                                                                                                                        SH
                                                                                                                                                                                                          SH




                                                                                                                                              USGS QUAD MAP                                                                              USGS QUAD MAP
                                                                                                                                             BELLE CHASSE, LA                                                                             DELACROIX, LA
                                                                                                                                                 2908909                                                                                     2908910
                                                                                                                                                   2020                                                                                        2020

                                                                                                         0          2 Miles        4 Miles                      GEOTECHNICAL SURVEY VICINITY MAP                                                                   LEGEND:
                                                                                                             SCALE: 1" = 2 MILES
                                                                                                                                                                                                                                                                                ACCESS ROUTE



                                                                                                                                             Imagine it.
                                                                                                                                             Delivered.
                                                                                                                                          Case 2:24-cv-01952-EEF-MBN                     Document 1-2          Filed 08/06/24        Page 4 of 16




                                                                                                                                                                                                                                                                                PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                                        LIT SITE ROW
                                                                                                                                                                                                                           PROPOSED MODIFICATION:
                                                                                                                                                                                                                           SURCHARGE TEST AREA (TS-2)
                                                                                                                                                                                                                           1,450 CY

                                                                                                                                                                                                                           PROPOSED MODIFICATION:
                                                                                                                                                         39
                                                                                                                                             HWY                                                                           SURCHARGE TEST AREA (TS-1)




                                                                                                                                                                                                                                                             U RD
                                                                                                                                                                                                                           22,570 CY




                                                                                                                                                                                                                                                            BAYO
                                                                                                                                                    VD
                                                                                                                                              BIA BL




                                                                                                                                                    W SMITH JUNIOR                                                                       USACE MRL
                                                                                                                                         COLUM




                                                                                                                                                    ELEMENTARY          VIOLET                                                           BASELINE
                                                                                                                                                                                                                     HWY 46
                                                                                                                                                    SCHOOL
                                                                                                                          6
                                                                                                                        Y4
                                                                                                                   HW                     D                                                                                                  POYDRAS
C:\pwworking\aecom_ds21_na_2020\d0229794\FIG 2.DWG, Jul 24, 2023 - 9:10:33AM, MartinezIIC




                                                                                                                                         A
                                                                                                                                 IL   RO                                                                                                     REVETMENT
                                                                                                                              RA
                                                                                                                        NS

                                                                                                                                                                                                            RM 83
                                                                                                                                                                          MISSISSIPPI RIVER      ACCESS FROM PORT SHIP
                                                                                                                                                                RM 84
                                                                                                                                                                                                 SERVICES - POYDRAS DOCK
                                                                                                                GEOTECHNICAL EXPLORATION PLAN PHASE II                                        LEGEND:
                                                                                                                                                    SCALE: 1" = 2000'                            DENOTES LOCATIONS OF PERMITTED MARINE AND WHARF EXPLORATION BORINGS
                                                                                                                                                                                                 DENOTES LOCATIONS OF PERMITTED GENERAL EXPLORATION BORINGS
                                                                                                                                                                                                 DENOTES LOCATIONS OF PERMITTED GENERAL EXPLORATION CONE PENETRATION TESTS
                                                                                                                                                                                                 DENOTES LOCATIONS OF PROPOSED TEST SURCHARGES
                                                                                                                                                                                                  NON-JURISDICTIONAL FORESTED WETLAND
                                                                                                                                                                                                   JURISDICTIONAL BATTURE WETLANDS
                                                                                                                                                                                                   SCRUB/SHRUB WETLANDS
                                                                                            2000'     0        2000'          2000'
                                                                                                                                                                                                  JURISDICTIONAL SCRUB/SHRUB WETLANDS
                                                                                                    SCALE: 1" = 2000'                                                                             FORESTED WETLAND


                                                                                                                                                         Imagine it.
                                                                                                                                                         Delivered.                                                                                        FIG 2 - SHT 2 OF 3
                                                                                                                                                             Case 2:24-cv-01952-EEF-MBN                      Document 1-2         Filed 08/06/24        Page 5 of 16

                                                                                                                    EXISTING ROAD CLEARING                       TEST SURCHARGE
                                                                                                                                                                    CLEARING
                                                                                                                     ROUTE                 LINEAR FEET                      AREA
                                                                                                                                                             DESIGNATION    (AC)                                JUDGE PEREZ-1
                                                                                                                  JUDGE PEREZ-1               5250 LF
                                                                                                                                                                                                                TO REMAIN
                                                                                                             JUDGE PEREZ-2 (JP-2a)            484 LF            TS-1       2.42 AC                              UNCLEARED
                                                                                                             JUDGE PEREZ-2 (JP-2b)            1510 LF           TS-2       0.52 AC

                                                                                                             JUDGE PEREZ-2 (JP-2c)            990 LF           TOTAL       2.94 AC

                                                                                                             JUDGE PEREZ-2 (JP-2d)            1339 LF                                                                                                                     THERESA-4a




                                                                                                                                                                                                                                                                                                        PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                    THERESA-1                 1760 LF
                                                                                                                    THERESA-2                 1658 LF                                              LIT SITE ROW
                                                                                                                                                                                                                                                                       PROPOSED MODIFICATION:
                                                                                                                    THERESA-3                 4293 LF
                                                                                                                                                                                                                                                                       SURCHARGE TEST AREA
                                                                                                                   THERESA-4a                 2337 LF                                                                   39                                             (TS-2)
                                                                                                                                                                                                                    HWY
                                                                                                                   THERESA-4b                 2041 LF                                                                                                                  THERESA-4c
                                                                                                                   THERESA-4c                 2140 LF
                                                                                                                    BATTURE-1                  65 LF
                                                                                                                     TOTAL                   23758 LF                                                   JP-2a                                                   PROPOSED
                                                                                                                                                                                                                                                                MODIFICATION:
                                                                                                                                   REQUESTED NEW CLEARING                                                                                                       SURCHARGE TEST
                                                                                                                                     LENGTH        WIDTH      SQUARE FT    ACRES
                                                                                                                                                                                                                                                                AREA (TS-1)
                                                                                                                  LOCATION
C:\pwworking\aecom_ds21_na_2020\d0229794\FIG 2 - SHT 4 OF 4.dwg, Nov 14, 2023 - 10:25:33AM, MartinezIIC




                                                                                                                                       (FT)         (FT)         (SF)       (AC)
                                                                                                                                                                                                                                      THERESA-4b
                                                                                                            ESB ACCESS\EGRESS         1,666             40     66,640       1.5                                                           WIDEN                   THERESA-3
                                                                                                                                                               20,000
                                                                                                                                                                                                            JP-2b        JP-2c
                                                                                                             TRUCK STAGING             500              40                  0.5
                                                                                                            THERESA-4b WIDEN           975              20     19,500       0.4                                                                                        THERESA-2
                                                                                                                                                   TOTAL       106,140      2.4

                                                                                                           LEGEND
                                                                                                                                EXISTING CLEARED                8.55 AC
                                                                                                                                                                                                                                          JP-2d                        THERESA-1
                                                                                                                                PERMITTED (UNCLEARED)           2.49 AC
                                                                                                                                REQUESTED NEW CLEARING          2.44 AC              1500' LEVEE
                                                                                                                                                                                        OFFSET     VIOLET
                                                                                                                                SURCHARGE TEST AREA
                                                                                                                                                                                                            W SMITH JUNIOR                                                    TRUCK STAGING
                                                                                                                                                                                                            ELEMENTARY           ESB ACCESS/EGRESS
                                                                                                           NOTE:                                                                       USACE MRL            SCHOOL
                                                                                                                                                                                        BASELINE                                                                                        HWY 46
                                                                                                           1. ESTIMATED 24,020 CY OF FILL TO BE PLACED
                                                                                                                                                                                                                                            ROAD
                                                                                                              WITHIN TWO TEST SURCHARGE AREAS.                                                                                      NS RAIL
                                                                                                                                                                                                                                                                              WIDEN EXISTING
                                                                                                                                                                                                                                                                              ENTRANCE
                                                                                                          1000'         0          1000'         2000'
                                                                                                                                                                                                                         SURCHARGE PILOT PROGRAM ACCESS PLAN
                                                                                                                      SCALE: 1" = 1000'                                                                                                  SCALE: 1" = 1000'                           BATTURE-1


                                                                                                                                                                   Imagine it.
                                                                                                                                                                   Delivered.                                                                                                      FIG 2 - SHT 4 OF 4
                                                                                                                       Case 2:24-cv-01952-EEF-MBN                   Document 1-2             Filed 08/06/24         Page 6 of 16

                                                                                                                                                                                                                            NOTES:
                                                                                                                                                                                                                            1. AS-BUILT DRAWINGS AND/OR PLATS
                                                                                                                                                                                                                               SHALL HAVE WRITTEN ON THEM
                                                                                                                                                                                                                               THE DATE OF COMPLETION OF SAID
                                                                                                                                                                                                                               ACTIVITIES AND SHALL BE
                                                                                                                                                                                                                               SUBMITTED TO THE LOUISIANA
                                                                                                                                                                    39
                                                                                                                                                              HWY                                                              DEPARTMENT OF NATURAL
                                                                                                                                                                                                                               RESOURCES, OFFICE OF COASTAL




                                                                                                                                                                                                                                                                    PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                                                                                                                               MANAGEMENT, P. O. BOX 44487,
                                                                                                                                                                                    FIG 3 - SHT 11                             BATON ROUGE, LA 70804-4487
                                                                                                                                                                FIG 3 - SHT 10                                                 WITHIN 30 DAYS FOLLOWING
                                                                                                                                                                                                                               PROJECT COMPLETION.
                                                                                                                                                                                                                            2. ALL STRUCTURES BUILT UNDER
                                                                                                                                                                                                                               THE AUTHORIZATION AND
                                                                                                                                                                                                                               CONDITIONS OF THIS PERMIT SHALL
                                                                                                                                                                                                                               BE REMOVED FROM THE SITE
                                                                                                                                  FIG 3 - SHT 9                                                                                WITHIN 120 DAYS OF
                                                                                                                                                                                                                               ABANDONMENT OF THE FACILITIES
                                                                                                                                                                                                                               FOR THE HEREIN PERMITTED USE,
                                                                                                                                                                                                                               OR WHEN THESE STRUCTURES
                                                                                                                                                    FIG 3 - SHT 7                   FIG 3 - SHT 8                              FALL INTO A STATE OF DISREPAIR
                                                                                                                                                                                                                               SUCH THAT THEY CAN NO LONGER
                                                                                                                                                                                                                               FUNCTION AS INTENDED. THIS
                                                                                                                                                                                                                               CONDITION DOES NOT PRECLUDE
                                                                                                                                                                                                                               THE NECESSITY FOR REVISING THE
                                                                                                                                  VIOLET            FIG 3 - SHT 5                   FIG 3 - SHT 6                              CURRENT PERMIT OR OBTAINING A
                                                                                                                                                                                                                               SEPARATE COASTAL USE PERMIT,
C:\pwworking\aecom_ds21_na_2020\d0229794\FIG 3.dwg, Dec 13, 2023 - 9:40:33AM, MartinezIIC




                                                                                                                                                               HWY 46                                                          SHOULD ONE BE REQUIRED, FOR
                                                                                                         USACE MRL                                                                                                             SUCH REMOVAL ACTIVITIES.
                                                                                                         BASELINE                       FIG 3 - SHT 2               FIG 3 - SHT 3                   FIG 3 - SHT 4           3. STRUCTURES MUST ALSO BE
                                                                                                                                                                                                                               MARKED/LIGHTED IN ACCORDANCE
                                                                                                                                                                                                                               WITH U. S. COAST GUARD
                                                                                                                                                                                                                               REGULATIONS.
                                                                                                                                                                                                                            4. IN ORDER TO ENSURE THE SAFETY
                                                                                                                                                                                                                               OF ALL PARTIES, THE PERMITTEE
                                                                                                                                                             MISSISSIPPI RIVER                                                 SHALL CONTACT THE LOUISIANA
                                                                                                                                                                                                                               ONE CALL SYSTEM (1-800-272-3020)
                                                                                                                                                    BORING & CPT KEY PLAN PHASE II                                             A MINIMUM OF 48 HOURS PRIOR TO
                                                                                                                                                                    SCALE: NTS                                                 THE COMMENCEMENT OF ANY
                                                                                            LEGEND:                                                                                                                            EXCAVATION (DIGGING, DREDGING,
                                                                                                                                                                                                                               JETTING, ETC.) OR DEMOLITION
                                                                                                NON-JURISDICTIONAL FORESTED WETLAND                                                                                            ACTIVITY.
                                                                                                                                             JURISDICTIONAL SCRUB/SHRUB WETLANDS
                                                                                                JURISDICTIONAL BATTURE WETLANDS
                                                                                                                                             FORESTED WETLAND
                                                                                                SCRUB/SHRUB WETLANDS



                                                                                                                          Imagine it.
                                                                                                                          Delivered.                                                                                                          FIG 3 - SHT 1 OF 11
                                                                                                                                Case 2:24-cv-01952-EEF-MBN                Document 1-2      Filed 08/06/24    Page 7 of 16

                                                                                                                                                                                 MATCHLINE FIG 3 - SHT 5 OF 11


                                                                                                                               HWY 46               OAD
                                                                                                                                            NS RAILR



                                                                                                                                                              LIT SITE ROW




                                                                                                                                                                                                                                                                                       PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                                                                                                                                                       MATCHLINE FIG 3 - SHT 3 OF 11
                                                                                                                                                                    USACE MRL BASELINE       ACCESS FROM PORT SHIP
                                                                                                    POYDRAS REVETMENT                                                                        SERVICES - POYDRAS DOCK



                                                                                                                                        USACE MRL
C:\pwworking\aecom_ds21_na_2020\d0229794\FIG 3.dwg, Nov 17, 2023 - 9:18:21AM, MartinezIIC




                                                                                                                                         MISSISSIPPI RIVER


                                                                                             NOTES:                                                 BORING & CPT PLAN PHASE II
                                                                                              1. REFER TO FIG 5 FOR TABULAR SUMMARY OF                       SCALE: 1" = 200'
                                                                                                 EXPLORATION POINTS.
                                                                                                                                                                                         LEGEND:
                                                                                               2.   LOCATIONS OF BORINGS, CPTS, AND TEST                                                    DENOTES LOCATIONS OF PERMITTED MARINE
                                                                                                    SURCHARGES SHOWN HERE SHOULD BE                                                         AND WHARF EXPLORATION BORINGS
                                                                                                    CONSIDERED APPROXIMATE AND MAY BE
                                                                                                                                                                                            DENOTES LOCATIONS OF PERMITTED
                                                                                                    MODIFIED IN THE FIELD BASED ON EXISTING
                                                                                                                                                                                            GENERAL EXPLORATION BORINGS
                                                                                                    UTILITIES, SITE ACCESS, AND/OR PROJECT
                                                                                                    REQUIREMENTS.                                                                           DENOTES LOCATIONS OF PERMITTED GENERAL
                                                                                                                                                                                            EXPLORATION CONE PENETRATION TESTS
                                                                                            200'      0          200'   200'

                                                                                                                                                                                            JURISDICTIONAL BATTURE WETLANDS
                                                                                                     SCALE: 1" = 200'



                                                                                                                                    Imagine it.
                                                                                                                                    Delivered.                                                                                       FIG 3 - SHT 2 OF 11
                                                                                                                                                            Case 2:24-cv-01952-EEF-MBN         Document 1-2        Filed 08/06/24        Page 8 of 16

                                                                                                                            MATCHLINE FIG - 3 SHT 5 OF 11                                                                           MATCHLINE FIG 3 - SHT 6 OF 11




                                                                                                                                                                                                                                                                                                                     PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                            MATCHLINE FIG 3 - SHT 2 OF 11




                                                                                                                                                                                                                                                                                     MATCHLINE FIG 3 - SHT 4 OF 11
                                                                                                                                                                                                 APPROXIMATE REACH BOUNDARY
                                                                                                                                                              USACE MRL BASELINE


                                                                                                                                                                                           USACE MRL




                                                                                                                                                                                                                                         ACCESS FROM PORT SHIP
                                                                                                                                                                                               MISSISSIPPI RIVER                         SERVICES - POYDRAS DOCK
C:\pwworking\aecom_ds21_na_2020\d0229794\FIG 3.dwg, Nov 17, 2023 - 9:18:25AM, MartinezIIC




                                                                                                                                                                            LIT SITE ROW
                                                                                                                                 POYDRAS REVETMENT


                                                                                                                                                            BORING & CPT PLAN PHASE II
                                                                                                                                                  SCALE: 1" = 200'
                                                                                                              NOTES:
                                                                                                               1. REFER TO FIG 5 FOR TABULAR SUMMARY OF
                                                                                                                  EXPLORATION POINTS.
                                                                                                                                                                                                  LEGEND:
                                                                                                                            2.   LOCATIONS OF BORINGS, CPTS, AND TEST
                                                                                                                                 SURCHARGES SHOWN HERE SHOULD BE                                     DENOTES LOCATIONS OF PERMITTED MARINE AND WHARF EXPLORATION BORINGS
                                                                                                                                 CONSIDERED APPROXIMATE AND MAY BE                                     DENOTES LOCATIONS OF PERMITTED GENERAL EXPLORATION BORINGS
                                                                                                                                 MODIFIED IN THE FIELD BASED ON EXISTING
                                                                                                                                 UTILITIES, SITE ACCESS, AND/OR PROJECT                                DENOTES LOCATIONS OF PERMITTED GENERAL EXPLORATION CONE PENETRATION TESTS
                                                                                                                                 REQUIREMENTS.
                                                                                                                                                                                                       NON-JURISDICTIONAL FORESTED WETLAND

                                                                                             200'                                  0          200'   200'                                              JURISDICTIONAL SCRUB/SHRUB WETLANDS
                                                                                                                                                                                                       JURISDICTIONAL BATTURE WETLANDS
                                                                                                                                  SCALE: 1" = 200'



                                                                                                                                                               Imagine it.
                                                                                                                                                               Delivered.                                                                                          FIG 3 - SHT 3 OF 11
                                                                                                                                                            Case 2:24-cv-01952-EEF-MBN                 Document 1-2          Filed 08/06/24         Page 9 of 16

                                                                                                                                                            MATCHLINE FIG 3 - SHT 6 OF 11                                                NS RAILR
                                                                                                                                                                                                                                                    OAD




                                                                                                                                                                                         PERMITTED CLEARING ROUTE



                                                                                                                                                                                                   LIT SITE ROW




                                                                                                                                                                                                                                                                                            PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                            MATCHLINE FIG 3 - SHT 3 OF 11




                                                                                                                                                                                                               USACE MRL BASELINE




                                                                                                                                                                                                                           USACE M
                                                                                                                                                                                                                                    RL

                                                                                                                                                                                                        POYDRAS REVETMENT
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                                                                                                                                                                                                              ACCESS FROM PORT SHIP
                                                                                                                                                                                                              SERVICES - POYDRAS DOCK

                                                                                                                                                             MISS
                                                                                                                                                                 ISSIPPI
                                                                                                                                                                         R   IVER
                                                                                                            NOTES:                                                                  BORING & CPT PLAN PHASE II
                                                                                                             1. REFER TO FIG 5 FOR TABULAR SUMMARY OF                                      SCALE: 1" = 200'
                                                                                                                EXPLORATION POINTS.                                                                                       LEGEND:
                                                                                                                            2.   LOCATIONS OF BORINGS, CPTS, AND TEST                                                        DENOTES LOCATIONS OF PERMITTED MARINE
                                                                                                                                 SURCHARGES SHOWN HERE SHOULD BE                                                             AND WHARF EXPLORATION BORINGS
                                                                                                                                 CONSIDERED APPROXIMATE AND MAY BE                                                           DENOTES LOCATIONS OF PERMITTED
                                                                                                                                 MODIFIED IN THE FIELD BASED ON EXISTING                                                     GENERAL EXPLORATION BORINGS
                                                                                                                                 UTILITIES, SITE ACCESS, AND/OR PROJECT                                                      DENOTES LOCATIONS OF PERMITTED GENERAL
                                                                                                                                 REQUIREMENTS.                                                                               EXPLORATION CONE PENETRATION TESTS
                                                                                            200'                                   0          200'   200'
                                                                                                                                                                                                                             NON-JURISDICTIONAL FORESTED WETLAND
                                                                                                                                  SCALE: 1" = 200'                                                                           JURISDICTIONAL BATTURE WETLANDS


                                                                                                                                                                Imagine it.
                                                                                                                                                                Delivered.                                                                                            FIG 3 - SHT 4 OF 11
                                                                                                                               Case 2:24-cv-01952-EEF-MBN   Document 1-2          Filed 08/06/24     Page 10 of 16

                                                                                                                                                     MATCHLINE FIG 3 - SHT 7 OF 11




                                                                                                                                                                                                                                                                                PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                                                                                                                                                MATCHLINE FIG 3 - SHT 6 OF 11
                                                                                                                                                                                                                   W. SMITH JUNIOR
                                                                                                                                                                                                                   ELEMENTARY
                                                                                                                                                              20' PERMITTED CLEARING
                                                                                                                                                                                                                   SCHOOL
                                                                                                                                                              ROUTE WITH 30' DIA PADS
C:\pwworking\aecom_ds21_na_2020\d0229794\FIG 3.dwg, Nov 17, 2023 - 9:18:36AM, MartinezIIC




                                                                                                                          LIT SITE ROW

                                                                                                                                                                               HWY 46                  OAD
                                                                                                                                                                                              NS RAILR

                                                                                                                   MATCHLINE FIG 3 - SHT 2 OF 11                                                       MATCHLINE FIG 3 - SHT 3 OF 11
                                                                                             NOTES:                                                  BORING & CPT PLAN PHASE II
                                                                                              1. REFER TO FIG 5 FOR TABULAR SUMMARY OF                      SCALE: 1" = 200'
                                                                                                 EXPLORATION POINTS.
                                                                                                                                                                                                   LEGEND:
                                                                                               2.   LOCATIONS OF BORINGS, CPTS, AND TEST
                                                                                                                                                                                                      DENOTES LOCATIONS OF PERMITTED
                                                                                                    SURCHARGES SHOWN HERE SHOULD BE
                                                                                                                                                                                                      GENERAL EXPLORATION BORINGS
                                                                                                    CONSIDERED APPROXIMATE AND MAY BE MODIFIED
                                                                                                    IN THE FIELD BASED ON EXISTING UTILITIES, SITE                                                    DENOTES LOCATIONS OF PERMITTED GENERAL
                                                                                                    ACCESS, AND/OR PROJECT REQUIREMENTS.                                                              EXPLORATION CONE PENETRATION TESTS
                                                                                            200'      0          200'   200'                                                                         FORESTED WETLAND

                                                                                                     SCALE: 1" = 200'



                                                                                                                                   Imagine it.
                                                                                                                                   Delivered.                                                                                 FIG 3 - SHT 5 OF 11
                                                                                                                                                             Case 2:24-cv-01952-EEF-MBN       Document 1-2          Filed 08/06/24       Page 11 of 16

                                                                                                                                                                                      MATCHLINE FIG 3 - SHT 8 OF 11
                                                                                                                                                                                     TRUCK STAGING

                                                                                                                                                                                                                          APPROXIMATE REACH
                                                                                                                                                                                                                          BOUNDARY




                                                                                                                                                                                                                                                                                         PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                             MATCHLINE FIG 3 - SHT 5 OF 11




                                                                                                                                                                                                                           20' PERMITTED CLEARING
                                                                                                                                                                                                                           ROUTE WITH 30' DIA PADS
                                                                                                                                                                                            ESB ACCESS/EGRESS 40'
                                                                                                                                                                                            REQUESTED CLEARING
                                                                                                                                                                                            ROUTE




                                                                                                                                                                  LIT SITE ROW
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                                                                                                                                                                                                                                       HWY 46
                                                                                                                                                                                                                              NS RAIL
                                                                                                                                                                                                                                       ROAD


                                                                                                                                                                                                                                            MATCHLINE FIG 3 - SHT 4 OF 11
                                                                                                                                        MATCHLINE SHEET 3 OF 11                               BORING & CPT PLAN PHASE II                 LEGEND:
                                                                                                                NOTES:                                                                                 SCALE: 1" = 200'                     DENOTES LOCATIONS OF PERMITTED
                                                                                                                 1. REFER TO FIG 5 FOR TABULAR SUMMARY OF EXPLORATION POINTS.                                                               GENERAL EXPLORATION BORINGS
                                                                                                                                                                                                                                            DENOTES LOCATIONS OF PERMITTED GENERAL
                                                                                                                             2.   LOCATIONS OF BORINGS, CPTS, AND TEST SURCHARGES SHOWN                                                     EXPLORATION CONE PENETRATION TESTS
                                                                                                                                  HERE SHOULD BE CONSIDERED APPROXIMATE AND MAY BE                                                           NON-JURISDICTIONAL FORESTED WETLAND
                                                                                                                                  MODIFIED IN THE FIELD BASED ON EXISTING UTILITIES, SITE
                                                                                                                                                                                                                                             JURISDICTIONAL SCRUB/SHRUB WETLANDS
                                                                                                                                  ACCESS, AND/OR PROJECT REQUIREMENTS.
                                                                                                                                                                                                                                             FORESTED WETLAND

                                                                                               200'                                 0          200'   200'


                                                                                                                                   SCALE: 1" = 200'



                                                                                                                                                                Imagine it.
                                                                                                                                                                Delivered.                                                                                         FIG 3 - SHT 6 OF 11
                                                                                                                               Case 2:24-cv-01952-EEF-MBN             Document 1-2        Filed 08/06/24   Page 12 of 16

                                                                                                    MATCHLINE FIG 3 - SHT 9 OF 11




                                                                                                                                                                                                                                                                                      PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                                                                                                                                                      MATCHLINE FIG 3 - SHT 8 OF 11
                                                                                                                                   20' PERMITTED CLEARING
                                                                                                                                   ROUTE WITH 30' DIA PADS




                                                                                                     LIT SITE ROW




                                                                                                                                                                                                                        W. SMITH JUNIOR
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                                                                                                                                                                                                                        ELEMENTARY
                                                                                                                                                                                                                        SCHOOL
                                                                                                                                                                           1500' FROM LEVEE TOE



                                                                                                                                                                MATCHLINE FIG 3 - SHT 5 OF 11
                                                                                             NOTES:                                                                                                        LEGEND:
                                                                                                                                                             BORING & CPT PLAN PHASE II
                                                                                              1. REFER TO FIG 5 FOR TABULAR SUMMARY OF                                                                        DENOTES LOCATIONS OF PERMITTED
                                                                                                                                                                    SCALE: 1" = 200'
                                                                                                 EXPLORATION POINTS.                                                                                          GENERAL EXPLORATION BORINGS
                                                                                                                                                                                                              DENOTES LOCATIONS OF PERMITTED GENERAL
                                                                                               2.   LOCATIONS OF BORINGS, CPTS, AND TEST                                                                      EXPLORATION CONE PENETRATION TESTS
                                                                                                    SURCHARGES SHOWN HERE SHOULD BE
                                                                                                    CONSIDERED APPROXIMATE AND MAY BE MODIFIED                                                                FORESTED WETLAND
                                                                                                    IN THE FIELD BASED ON EXISTING UTILITIES, SITE
                                                                                                    ACCESS, AND/OR PROJECT REQUIREMENTS.
                                                                                            200'      0          200'   200'


                                                                                                     SCALE: 1" = 200'



                                                                                                                                  Imagine it.
                                                                                                                                  Delivered.                                                                                        FIG 3 - SHT 7 OF 11
                                                                                                                                                            Case 2:24-cv-01952-EEF-MBN             Document 1-2            Filed 08/06/24     Page 13 of 16

                                                                                                                                                        20' THERESA 4b WIDEN
                                                                                                                                                        CLEARING ROUTE




                                                                                                                                                                                          20' PERMITTED CLEARING
                                                                                                                                                                                          ROUTE WITH 30' DIA PADS




                                                                                                                                                                                                                                                                                                  PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                            MATCHLINE FIG 3 - SHT 7 OF 11




                                                                                                                                                                                                                                APPROXIMATE REACH BOUNDARY
                                                                                                                                                                     PROPOSED
                                                                                                                                                                     CLEARING TS-1
                                                                                                                                                                     (325'x325')




                                                                                                                                                                     ESB ACCESS/EGRESS 40'
                                                                                                                                                                     REQUESTED CLEARING
                                                                                                                                                                     ROUTE




                                                                                                                                                                   1500' FROM LEVEE TOE
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                                                                                                                                                                                                                                                             LIT SITE ROW



                                                                                                                                                                                             MATCHLINE FIG 3 - SHT 6 OF 11
                                                                                                                NOTES:                                                                               BORING & CPT PLAN PHASE II               LEGEND:
                                                                                                                                                                                                                    SCALE: 1" = 200'             DENOTES LOCATIONS OF PERMITTED
                                                                                                                 1. REFER TO FIG 5 FOR TABULAR SUMMARY OF EXPLORATION POINTS.
                                                                                                                                                                                                                                                 GENERAL EXPLORATION BORINGS
                                                                                                                            2.   LOCATIONS OF BORINGS, CPTS, AND TEST SURCHARGES SHOWN HERE                                                      DENOTES LOCATIONS OF PERMITTED GENERAL
                                                                                                                                 SHOULD BE CONSIDERED APPROXIMATE AND MAY BE MODIFIED IN THE FIELD                                               EXPLORATION CONE PENETRATION TESTS
                                                                                                                                 BASED ON EXISTING UTILITIES, SITE ACCESS, AND/OR PROJECT
                                                                                                                                 REQUIREMENTS.                                                                                                   FORESTED WETLAND
                                                                                                                                                                                                                                                 DENOTES LOCATIONS OF PROPOSED TEST
                                                                                                                                                                                                                                                 SURCHARGES
                                                                                               200'                                0          200'   200'


                                                                                                                                  SCALE: 1" = 200'



                                                                                                                                                                Imagine it.
                                                                                                                                                                Delivered.                                                                                                  FIG 3 - SHT 8 OF 11
                                                                                                                         Case 2:24-cv-01952-EEF-MBN           Document 1-2               Filed 08/06/24   Page 14 of 16




                                                                                                                                                                                                                                                         PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                                                                            20' PERMITTED CLEARING
                                                                                                                                                                            ROUTE WITH 30' DIA PADS
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                                                                                                                                                                                                                     MATCHLINE FIG 3 - SHT 7 OF 11
                                                                                            NOTES:                                                 BORING & CPT PLAN PHASE II                             LEGEND:
                                                                                             1. REFER TO FIG 5 FOR TABULAR SUMMARY OF                       SCALE: 1" = 200'                                 DENOTES LOCATIONS OF PERMITTED
                                                                                                EXPLORATION POINTS.                                                                                          GENERAL EXPLORATION BORINGS
                                                                                                                                                                                                             DENOTES LOCATIONS OF PERMITTED GENERAL
                                                                                             2.   LOCATIONS OF BORINGS, CPTS, AND TEST                                                                       EXPLORATION CONE PENETRATION TESTS
                                                                                                  SURCHARGES SHOWN HERE SHOULD BE
                                                                                                  CONSIDERED APPROXIMATE AND MAY BE MODIFIED         200'      0          200'    200'                       FORESTED WETLAND
                                                                                                  IN THE FIELD BASED ON EXISTING UTILITIES, SITE
                                                                                                  ACCESS, AND/OR PROJECT REQUIREMENTS.                        SCALE: 1" = 200'




                                                                                                                              Imagine it.
                                                                                                                              Delivered.                                                                                           FIG 3 - SHT 9 OF 11
                                                                                                                          Case 2:24-cv-01952-EEF-MBN         Document 1-2               Filed 08/06/24   Page 15 of 16




                                                                                                                                                                                                                                                                                   PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                                                                                                                         MATCHLINE FIG 3 - SHT 11 OF 11
                                                                                                                                                                      20' PERMITTED CLEARING
                                                                                                                                                                      ROUTE WITH 30' DIA PADS




                                                                                                                                                                                                                                                          LEGEND:
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                                                                                                                                                                                                                                                          DENOTES LOCATIONS
                                                                                                                                                                     PROPOSED CLEARING                                                                    OF PERMITTED
                                                                                                                                                                     TS-2 (150'x150')                                                                     GENERAL
                                                                                                                                                                                                                                                          EXPLORATION BORINGS

                                                                                                                                                                                                                                                          DENOTES LOCATIONS
                                                                                                                                                                     20' THERESA 4b                                                                       OF PERMITTED
                                                                                                                                                                     WIDEN CLEARING                                                                       GENERAL
                                                                                                                                                                     ROUTE                                                                                EXPLORATION CONE
                                                                                                                                                                                                                                                          PENETRATION TESTS

                                                                                            NOTES:                                                                                                                                                        SCRUB/SHRUB
                                                                                             1. REFER TO FIG 5 FOR TABULAR SUMMARY OF EXPLORATION POINTS.   BORING & CPT PLAN PHASE II                                                                    WETLANDS
                                                                                                                                                                    SCALE: 1" = 200'
                                                                                                                                                                                                                                                          FORESTED WETLAND
                                                                                             2.   LOCATIONS OF BORINGS, CPTS, AND TEST SURCHARGES SHOWN
                                                                                                  HERE SHOULD BE CONSIDERED APPROXIMATE AND MAY BE
                                                                                                  MODIFIED IN THE FIELD BASED ON EXISTING UTILITIES, SITE    200'     0          200'      200'                                                           DENOTES LOCATIONS
                                                                                                  ACCESS, AND/OR PROJECT REQUIREMENTS.                                                                                                                    OF PROPOSED TEST
                                                                                                                                                                     SCALE: 1" = 200'                                                                     SURCHARGES


                                                                                                                               Imagine it.
                                                                                                                               Delivered.                                                                                                                   FIG 3 - SHT 10 OF 11
                                                                                                                          Case 2:24-cv-01952-EEF-MBN                                       Document 1-2               Filed 08/06/24   Page 16 of 16




                                                                                                                                                                            20' PERMITTED CLEARING
                                                                                                                                                                            ROUTE WITH 30' DIA PADS




                                                                                                                                                                                                                                                                                       PRELIMINARY - FOR PERMIT PURPOSES ONLY
                                                                                                                             MATCHLINE FIG 3 - SHT 10 OF 11
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                                                                                            NOTES:
                                                                                             1. REFER TO FIG 5 FOR TABULAR SUMMARY OF EXPLORATION POINTS.                                  BORING & CPT PLAN PHASE II                  LEGEND:
                                                                                                                                                                                                      SCALE: 1" = 200'                    DENOTES LOCATIONS OF PERMITTED
                                                                                             2.   LOCATIONS OF BORINGS, CPTS, AND TEST SURCHARGES SHOWN                                                                                   GENERAL EXPLORATION BORINGS
                                                                                                  HERE SHOULD BE CONSIDERED APPROXIMATE AND MAY BE                                                                                        DENOTES LOCATIONS OF PERMITTED GENERAL
                                                                                                  MODIFIED IN THE FIELD BASED ON EXISTING UTILITIES, SITE ACCESS,                            200'       0          200'   200'            EXPLORATION CONE PENETRATION TESTS
                                                                                                  AND/OR PROJECT REQUIREMENTS.                                                                                                            FORESTED WETLAND
                                                                                                                                                                                                       SCALE: 1" = 200'



                                                                                                                                                              Imagine it.
                                                                                                                                                              Delivered.                                                                                        FIG 3 - SHT 11 OF 11
